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                         UNITED STATES BANKRUPTCY COURT
10                   WESTERN DISTRICT OF WASHINGTON AT SEATTLE

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12   In re Nicholas Clifton Barnard,                      No. 16-11870 TWD

13                         Debtor.                        [Proposed] ORDER GRANTING
                                                          AUTHORITY TO REDEEM
14                                                        PERSONAL PROPERTY
                                                          PURSUANT TO 11 U.S.C. § 722
15

16
            THIS MATTER came before the Court on the Debtor’s Motion to Redeem Personal
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     Property. The Court having considered the Motion and the supporting Declaration of
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     Nicholas C. Barnard along with the attached exhibits, finds and concludes that Notice is
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     appropriate under the circumstances.
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21   Now, therefore, it is hereby ORDERED that:

22          1.      The Motion to Redeem Personal Property is granted.
23
            2.      Santander Consumer USA shall accept from the Debtor the lump sum
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     payment of $2,400 for the redemption value of his 2013 Ford C-Max Energi, VIN:
25
     1FADP5CU7DL531019, and release their lien of record.
26

     [Proposed] Order to Redeem
     Personal Property - 1                                            KAPLAN LAW PLLC
                                                                       2155 - 112th Ave. NE
                                                                       Bellevue, WA 98004
                                                                       Phone: 425-818-4818
 Case 20-11870-TWD          Doc 14-2    Filed 08/15/20     Ent.         Fax:17:01:16
                                                                  08/15/20   425-484-4444Pg.   1 of 3
 1
             3.     The Debtor shall make said lump sum payment on or before September 30,
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     2020.
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 5   ///End of Order///

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     [Proposed] Order to Redeem
     Personal Property - 2                                         KAPLAN LAW PLLC
                                                                    2155 - 112th Ave. NE
                                                                    Bellevue, WA 98004
                                                                    Phone: 425-818-4818
 Case 20-11870-TWD         Doc 14-2    Filed 08/15/20   Ent.         Fax:17:01:16
                                                               08/15/20   425-484-4444Pg.   2 of 3
 1   Presented by:

 2   KAPLAN LAW PLLC
 3
     By: /s/ Michelle C. Kaplan
 4   Michelle Carmody Kaplan
     WSBA No. 27286
 5   Attorney for Debtor
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     [Proposed] Order to Redeem
     Personal Property - 3                                      KAPLAN LAW PLLC
                                                                 2155 - 112th Ave. NE
                                                                 Bellevue, WA 98004
                                                                 Phone: 425-818-4818
 Case 20-11870-TWD       Doc 14-2   Filed 08/15/20   Ent.         Fax:17:01:16
                                                            08/15/20   425-484-4444Pg.   3 of 3
